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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

   TIMOTHY JACKSON,                      §
        Plaintiff,                       §
                                         §
   v.                                    §       Civil Action No. 4:21-cv-00033
                                         §
   LAURA WRIGHT, MILTON B. LEE,          §
   MELISA DENIS, MARY DENNY,             §
   DANIEL FEEHAN, A.K. MAGO,             §
   CARLOS MUNGUIA, AND G.                §
   BRINT RYAN, each in their official    §
   capacities as members of the board of §
   regents for the University of North   §
   Texas System; RACHEL GAIN;            §
   ELLEN BAKULINA; ANDREW                §
   CHUNG; DIEGO CUBERO; STEVEN           §
   FRIEDSON; REBECCA DOWD                §
   GEOFFROY-SCHWINDEN;                   §
   BENJAMIN GRAF; FRANK                  §
   HEIDLBERGER; BERNARDO                 §
   ILLARI; JUSTIN LAVACEK; PETER         §
   MONDELLI; MARGARET NOTLEY;            §
   APRIL L. PRINCE; CATHY                §
   RAGLAND; GILLIAN ROBERTSON;           §
   HENDRIK SCHULZE; VIVEK                §
   VIRANI; AND BRIAN F. WRIGHT,          §
           Defendants.                   §
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   PROPOSED ORDER GRANTING THE BOARD DEFENDANTS’ MOTION FOR
                            SUMMARY JUDGMENT
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      Before the Court is Defendants’ Defendants’, Laura Wright, Milton B. Lee, Melisa Denis,

Mary Denny, Daniel Feehan, A.K. Mago, Carlos Munguia, and G. Brint Ryan, each in their

official capacities as members of the Board of Regents for the University of North Texas (“UNT”)

System (“Board Defendants”) Motion for summary Judgment. Upon consideration of the Motion,

any further briefing and argument submitted by the parties, and the relevant pleadings in this

matter, the Court is of the opinion that the Motion is meritorious and hereby GRANTS the Motion.

      IT IS THEREFORE ORDERED that Plaintiff’s First Amendment claims against the
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Board Defendants are DISMISSED.
